Case 2:20-mj-05207-DUTY Document 6 Filed 10/28/20 Page 1 of 4 Page ID #:53




  1

  2
                                                                     ~       ~ .Idil
  3

 4

  5

 6                           UNITED STATES DISTRICT COURT
  7                        CENTRAL DISTRICT OF CALIFORNIA
  8
      ~ UNITED STATES OF AMERICA,
 9
 10                                Plaintiff,      ~ CASE NO. MJ-20-05207
 11

 12 ~ RONG JING,                                      ORDER OF DETENTION
 13

 14                                Defendant. }
 15

 16                                                   I.

 17        A.()       On motion of the Government in a case allegedly involving:
 18             1.()     a crime of violence.
 19            2.()      an offense with maximum sentence of life imprisonment or death.
20             3.()      a narcotics or controlled substance offense with maximum sentence
21                      often or more years .
22             4.()     any felony -where the defendant has been convicted oftwo or more
23                       prior offenses described above.
24             5.()     any felony that is not otherwise a crime of violence that involves a
25                       minor victim, or possession or use ofa firearm or destructive device
26                      or any other dangerous weapon, or a failure to register under 18
27                      U.S.0 § 2250.
28        B.(v~ On motion by the Government /( )on Court's own motion, in a case

                              ORDER OF DETENTION AFTER HEARING (18 L.S.C. §3142(1))

      CR-94 (06/07)                                                                    Page 1 of4
Case 2:20-mj-05207-DUTY Document 6 Filed 10/28/20 Page 2 of 4 Page ID #:54




                         allegedly involving:
              (~ On the further allegation by the Government of:
  3             1.(~ a serious risk that the defendant will flee.
  4            2. O         a serious risk that the defendant will:
  5                   a.()obstruct or attempt to obstruct justice.

  6                   b.()threaten, injure, or intimidate a prospective witness or juror or
  7                         attempt to do so.
  8       C. The Government()is/(~s not entitled to a rebuttable presumption that no
  9            condition or combination ofconditions will reasonably assure the defendant's
 10            appearance as required and the safety of any person or the community.
 11

 12                                                      II.

 13       A. (►~j~ The Court finds that no condition or combination of conditions will
 14                      reasonably assure:
 15            1. (~ the appearance of the defendant as required.
 16                   (,~'' and/or
 17            2. (vY the safety of any person or the community.
 18       B. ()          The Court finds that the defendant has not rebutted by sufficient
 19                      evidence to the contrary the presumption provided by statute.
 20

 21                                                     III.
 22       The Court has considered:
 23        A. the nature and circumstances of the offenses) charged, including whether the
 24            offense is a crime of violence, a Federal crime of terrorism, or involves a minor
 25            victim or a controlled substance, firearm, explosive, or destructive device;
 26       B. the weight of evidence against the defendant;
 27       C. the history and characteristics of the defendant; and
 28       D. the nature and seriousness of the danger to any person or to the community.

                                 ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

      CR-94 (06/07)                                                                      Page 2 of 4
Case 2:20-mj-05207-DUTY Document 6 Filed 10/28/20 Page 3 of 4 Page ID #:55




  1 1                                                      IV.
  2          The Court also has considered all the evidence adduced at the hearing and the
  3          arguments and/or statements of counsel, and the Pretrial                      Services
  4          Report/recommendation.
  5

  6                                                        V.
  7          The Court bases the foregoing findings) on the following:
  8          A.(v~ As to flight risk:            ~~~ ~'~ D~~~S; l,~-+'1V~"~~'~
  9

 io                     -h'e~ ° +o C~:~ ; ce~~2,Q.~,~, of C,~;vL.~ ; ~,:e~ ~
 ~~                     C(n~~~-e5e. cwUa~.n~.~ a~ ~s~,~;h~l ,~, ol~ses
 12

 13

 14

 15

 16          B.(vY As to danger:             NCR a~ `~-e ~f~~'►~5 —
 17

 18

 19

20

21

22

23

24                                                         VI.
25           A. ( )        The Court finds that a serious risk exists that the defendant will:
26                      1. ()obstruct or attempt to obstruct justice.
27                      2. ()attempt to/ ( )threaten, injure or intimidate a witness or juror.
28

                                   ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

        CR-94 (06/07)                                                                        Page 3 of 4
Case 2:20-mj-05207-DUTY Document 6 Filed 10/28/20 Page 4 of 4 Page ID #:56




  1         B. The Court bases the foregoing findings) on the following:
  2
  3
  4
  5
 6
 7
  8
 a                                                    VII.
 10
 11         A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
 12        B. IT IS FURTHER ORDERED that the defendant be committed to the
 13             custody of the Attorney General for confinement in a corrections facility
 14             separate, to the extent practicable, from persons awaiting or serving
 15             sentences or being held in custody pending appeal.
 16        C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
 17             opportunity for private consultation with counsel.
 18        D. IT IS FURTHER ORDERED that, on order of a Court of the United States
 19             or on request of any attorney for the Government, the person in charge of
20              the corrections facility in which the defendant is confined deliver the
21              defendant to a United States marshal for the purpose of an appearance in
22              connection with a court proceeding.
23 I
24
25
26 DATED: October 28. 2020                           l/~t~l~~t,@~-
                                                    HONORABL A ILIA G.    SENBERG
27                                                  L7NITED STATES MAGISTRATE JUDGE
28

                               ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

       CR-94 (06/07)                                                                      Page 4 of4
